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    Google’s Chromecast Audio
    Adapter Gets Multi-Room
    Support Similar to Sonos
    By JANKO ROETTGERS




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    CREDIT: COURTESY OF GOOGLE


    Google’s recently-launched Chromecast Audio adapter is getting a major feature update this week:
    Consumers will now be able to group multiple Chromecast audio adapters to stream their favorite music
    simultaneously in more than one room, similar to the multi-room support available for internet-connected
    loudspeakers like the ones made by Sonos. The company is also adding high-resolution audio support to
    Chromecast, making it possible to enjoy music with a resolution of up to 96KHz/24bit.

    Google first introduced Chromecast Audio in September. The $35 adapter can be plugged into any
    stereo system or stand-alone loudspeaker with line-in or optical audio connectivity, and allows
    consumers to stream music services like Spotify and other audio programming directly from the cloud.
    Grouping of adapters is being done through Google’s Chromecast app, which is available for iOS and
    Android.

    Multi-room audio support will be extended to loudspeakers made by LG, Sony and Denon that use
    Google’s Cast technology some time next year. At that point, consumers will be able to combine a Wifi-
    connected speaker with a traditional stereo system equipped with a Chromecast audio adapter to play
    the same music in all of their rooms. Google hasn’t said yet whether it intends to bring multi-room audio
    support to its Chromecast video streaming stick as well.


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